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E. Rates
1. Admissions
The next graphic shows the rate of admissions to the Sonoma

County Jail per 100,000 population from 1988 to 2007.

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In 1988, the admission rate into the Sonoma County Jail was 5,525 per
100,000 population; by 2007, the rate had dropped to 4,153 per 100,000

population, a 25 percent clecrease.

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000 population in 1988 to 227

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Incarceration Rate

The incarceration rate per 100,000 of the population is shown in

a. Sonoma County

Incarceration

2.

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the graphic below for the years 1988 to 2007.
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The incarceration rate rose from 192 per 100

per 100,000 population in 2007, an 18 percent increase.

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b. United States

The next graphic shows the incarceration rates for the United
States, Western US, and State of California for the years 1988, 1993, 1999, and
2005. The national and state data is taken from the Census of Jails from the

Bureau of Justice Statistics. The national data is only collected every 5 or 6

years.
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United States Western US State of CaliforniaSonoma County
1988 1993 1999 [2] 2005

The national incarceration rate has risen from 141 persons per 100,000

population in 1988 to 252 in 2005. The western United States has risen from
180 to 235. The state of California has been flat, from 226 to 227. Sonoma
County's incarceration rate has increased from 188 per 100,000 population in
1988 to 247 in 2005 which is which is virtually the same as the national average

and only slightly higher than the state and regional averages.

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F. Jail Capacity Forecasts

1. Introduction

A simple method of forecasting the number of Jail beds needed
would be to use average daily population increases over the 20-year study
period as a predictive base. During that 20-year period, the Jail population
increased on average by 20.1 persons each year. Using the above method, one
might predict that the average daily population would be 1,660 Jail beds for the
year 2035. However, this forecast assumes that the Jail is being appropriately
utilized today (that no additional pre- or post trial intermediate sanctions exist
that could impact the Jail population) and that the Jail will continue to be used
at the same rate over the next 20 years as it has over the past 20 years. Neither
of these assumptions is likely to be true. However, a more detailed approach is
recommended to be used to develop Jail population forecasts — one in which
county officials can help select specific scenarios for the future on which such
forecasts can be based.

The average length of stay has changed significantly over the study
period. The average length of stay over the last 20 years averaged 19 days;
over the last 10 years 22 days; and over the last 5 years, the average length of
stay was also 22 days. In 2007, the average length of stay is 20 days. For the
purposes of these forecasts, three estimated average lengths of stay have been
used for the year 2035: 20, 22, and 24 days.

Admissions have been flat over the study period. The number of persons
booked into the jail in 2007 is the same as in 1988; however, there have been
some swings over the years. The admissions rate averaged 4,225 over the last
20 years. The admissions rates averaged 3,814 per 100,000 persons over the

last 10 years and 3,878 over the last five years. The admissions rate for 2007 is

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4,153. Three different admissions rates are used for these forecasts: 4,000,
4,500, and 5,000 per 100,000 population.

2. Adjustments: Peaking and Classification Factors

The expected average daily population for each of the forecast
scenarios does of mean that the county should have this amount of beds
available. Since these are daily averages, the county’s plans should include
allowances for those days (in a given year) when the population surges above
the average because of normal fluctuations in admissions and releases.

This situation is similar to a storm drain system. A storm drain sits
empty most of the year; however, it needs to be large enough to handle the
peak run-off from a summer thundershower or melting snow from the
mountains. Jail populations are very similar. During peak periods —
traditionally weekends, the end of the month, and the summer months — jail

populations climb. A jail needs to be large enough to handle the peak periods.

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The next graphic shows the peaking factor for Sonoma County. The Jail

provided the three highest population days each month for each of the years

1998-2006.

Average Daily Population
and Peak Population

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Average Daily Population Average Peak Population

Each month’s average peak population was determined and then
compared with the average daily population to develop the peaking factor. The
peaks have evened out, artificially, because of overcrowding. The jail is
continuously operating at capacity with adjustments made to the inmate
population when it would be seeing normal peak populations. The nine-year
average was 3 percent. The peaking factor was rounded up to 10 percent for
the purposes of the forecasts.

A second factor, classification, was used to allow for the daily need, in
any jail, to have a few open beds available for new inmates within each
classification category. In a jail of this size, an appropriate classification
adjustment factor would be seven beds for each of the four primary

classification categories. That is, the county should increase its estimate for

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each year by 28 beds to come to a final figure of what will be needed for each of

the years in this planning cycle.

3. The Forecasts for 2035
The next set of graphics gives figures for the year 2035 based on an
average length of stay of 20 days, 22 days and 24 days.

The tables below show (1) the average daily population, (2) beds
necessary to handle peak periods, and (3) beds necessary for classification
purposes. These figures are given for each of the three possible admissions
rates. Each table then gives the incarceration rate per 100,000 population for
each of the three possible admissions rates per 100,000 population: 4000, 4500,
& 5000.

By 2035, it is estimated that 568,900 persons will be living in the county;

this figure provides the baseline for the tables.

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Year 2035
Average Length of Stay of 20 Days
Admissions Total Beds Incarceration
Rate per Average Necessary Total Beds Rate per
100,000 Daily for the Peak| Necessary for 100,000
Population | Population | Populations| Classification | Population
4000 1247 1372 1400 220
4500 1403 1543 1571 250
5000 1559 1714 1742 270
Average Length of Stay of 22 Days
Admissions Total Beds Incarceration
Rate per Average Necessary Total Beds Rate per
100,000 Daily for the Peak| Necessary for 100,000
Population | Population | Populations | Classification | Population
4000 1372 1509 1537 240
4500 1543 1697 1725 270
5000 1714 1886 1914 300
Average Length of Stay of 24 Days
Admissions Total Beds Incarceration
Rate per Average Necessary | Total Beds Rate per
100,000 Daily for the Peak | Necessary for 100,000
Population | Population | Populations | Classification | Population
4000 1496 1646 1674 260
4500 1683 1852 1880 300
5000 1870 2057 2085 330

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G. Conclusion

The forecasts presented in this report are just starting points. The
projections are, at best, estimates of what is likely to occur in the coming
twenty-three years. Should the county decision-makers wish to alter any of the
scenarios, they can do so by adjusting the key indices of jail use — county
population, admissions rate, expected average lengths of stay, the peaking
factor, and the classification factor. By adjusting these factors, the decision-
makers will obtain different estimates of the required number of jail beds.

There is no guarantee that criminal justice system policy will not change
and push jail populations higher or lower than these numbers indicate. The
forecasters of the 1980s did not foresee the dramatic rise in jail populations that
took place during the 1990s. No one was able to estimate those changes
accurately.

Sonoma County officials must analyze the data contained in this report
and adopt a plan for the future of their criminal justice system. Policy shifts
that could change the amount of jail space available are detailed in this report.
If the necessary changes recommended in this report do not occur, then more
beds than those predicted in this report will be necessary. Left uncontrolled,
the present Jail population will continue to grow, filling and overfilling
whatever facilities are constructed in response to such growth, and leaving
Sonoma County with vo alternatives for managing the jail population other
than simply building new facilities every few years in response to renewed
overcrowding. An approach that emphasizes active management, on the other
hand, may make it possible to prolong the sufficiency of new jail space for a
longer period — giving Sonoma County time to explore and try out the many
viable alternatives to construction that have become available in recent years

and are recommended in the next chapter.

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